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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-CR-141-RDM
               v.                             :
                                              :
MICHAEL DAUGHTRY,                             :
                                              :
                       Defendant.             :

                     UNITED STATES’ MEMORANDUM
          REGARDING STATUS OF DISCOVERY AS OF OCTOBER 21, 2021

       The United States files this memorandum for the purpose of describing the status of

implementation of our discovery plan in relation to voluminous sets of data that the government

collected and continues to collect in its investigation of the Capitol Breach cases, among which

may be interspersed information the defense may consider material or exculpatory. The

materials upon which this memorandum is focused include, for example, thousands of hours of

video footage from multiple sources (e.g., Capitol surveillance footage, body-worn-camera

footage, results of searches of devices and Stored Communications Act (“SCA”) accounts,

digital media tips, Parler video, and news footage), and hundreds of thousands of investigative

documents including but not limited to interviews of tipsters, witnesses, investigation subjects,

defendants, and members of law enforcement.

                           Status of Defense Evidence.com Database

       On September 3, 2021, the United States modified its contract with Axon Enterprise, Inc.

(“Axon”), our evidence.com vendor. Pursuant to the modification, the government funded a

Capitol Breach defense instance of evidence.com and purchased licenses that will enable legal

defense teams to gain access to evidence.com and view voluminous video evidence. The defense

instance is managed and administered by the Federal Public Defender for the District of

Columbia (“FPD”), who is acting as the Discovery Liaison for defense counsel in Capitol Breach
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cases, and the government has no ability to log into or retrieve information from the defense

instance.

       In conjunction with the Defender Service’s National Litigation Support Team, FPD

created a structure for distributing and tracking evidence.com licenses for defense counsel. As of

October 18, 2021, FPD has sent emails to all Capitol Breach defense counsel with instructions on

how to request a license for the legal defense team to view videos in evidence.com. FPD also

developed a “Quick Start Guide” that it simultaneously circulated to all Capitol Breach defense

counsel, with instructions for registering an account, logging into evidence.com, and further

describing how video discovery may be shared with their clients through the evidence.com

platform consistent with the standard Capitol Breach protective order.

                              Status of Production of Video Footage

        The following video footage has been shared to the defense instance of evidence.com

and is accessible to any Capitol Breach defense counsel who requests a license:

             •   16,925 U.S. Capitol Police (“USCP”) Closed Circuit Video (“CCV”) files
                 consisting of approximately 4,800 hours (over four terabytes) of footage from 515
                 cameras located inside the U.S. Capitol Visitor Center and on the Capitol
                 grounds. To assist the defense in locating relevant USCP CCV, we have also
                 produced (via USAfx) 15 camera maps of the interior of Capitol Visitor’s Center
                 and the interior of the Capitol.

             •   1,676 Metropolitan Police Department (“MPD”) body-worn-camera (“BWC”)
                 files consisting of approximately 1,600 hours of footage recorded by over 900
                 officers between 1:00 p.m. and 6:00 p.m. on January 6, 2021. To assist the
                 defense in locating officers who may have recorded body-worn-camera footage at
                 a particular location and time, we also produced (via USAfx) a spreadsheet
                 created by the Discovery Team based on MPD radio Global Positioning Satellite
                 records.




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                            Status of Defense Relativity Workspace

       On October 13, 2021, the United States modified its contract with Deloitte Financial

Advisory Services, LLP (“Deloitte”) to fund a Capitol Breach Relativity workspace and purchase

licenses that will enable legal defense teams to gain access to the database. FPD is now

consulting with Deloitte concerning the construction and organization of the defense workspace

and creating a structure for distributing Relativity licenses to defense counsel. FPD will notify

Capitol Breach defense counsel on how to obtain Relativity license access once the defense

workspace is constructed and organized and is ready to be populated with documents.

                               Status of Production of Documents

       Since our last filing describing the status of discovery as of September 14, 2021, the

following materials and a corresponding index have been made available for sharing with

Capitol Breach defense counsel via USAfx:

           •   42 files that consist of MPD internal investigation reports and exhibits (739
               pages);
           •   31 files consisting of digital exhibits to previously produced USCP Office of
               Professional Responsibility (“OPR”) reports; 1 and
           •   USCP radio communications and draft transcripts.

                         Contents of Government Relativity Database

       Our Relativity database currently contains over 33,000 records from USCP, 23,000

records from MPD, and 56,000 records from the FBI’s main Capitol Breach file (of which about

29,000 pertain to individual defendants and are likely to overlap with materials already produced

in the specific cases to which they are most directly relevant).




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 On September 10, 2021, we made available via USAfx 35 files consisting of 28 reports from
USCP OPR investigations of alleged wrongdoing by USCP officers on January 6, 2021.


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                               Manner of Productions Going Forward

       In terms of the manner in which discovery will be produced going forward:

           •   We will continue to utilize evidence.com to produce voluminous video footage in
               all Capitol Breach cases.

           •   Until Relativity access is available to Capitol Breach defense counsel, limited
               productions such as those described above will continue to be made available to
               counsel via USAfx, as well as produced to the defense Relativity workspace.

           •   Once defense counsel have access to Relativity, it will become the primary
               method for producing voluminous documents. However, we will still continue to
               make organized productions and issue discovery letters to defense counsel
               describing materials that have been added to the defense database.

           •   Certain materials, because of their nature or volume, will only be produced to the
               defense Relativity workspace. E.g., case-specific discovery that has been provided
               in other defendants’ cases and the results of searches of devices and SCA
               accounts. Those materials will become accessible to defense counsel once FPD
               distributes licenses for Relativity.

                                   Incarcerated Defendants
       In collaboration with FPD, we have developed a proposal to increase access by

incarcerated defendants to discovery materials by providing access to e-discovery (by providing

limited evidence.com and Relativity access to inmates via wi-fi and increasing the number of

computers available for discovery review). FPD and our office had a productive meeting with

representatives from the D.C. Department of Corrections (“DOC”) about the e-discovery

proposal on Wednesday, October 20, 2021. At the meeting, representatives of DOC indicated

they would explore with the Director whether a pilot e-discovery program consistent with our

proposal, beginning with Capitol Breach defendants, may be implemented consistent with the

DOC’s security concerns and Internet capacity. We are meeting again on October 27, 2021, at

which time we expect to obtain requested technical and logistical information from the DOC that

would be essential to implementing our joint proposal.



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       We understand there are four defendants who are currently proceeding pro se, three of

whom are detained. We are currently developing a plan for access to voluminous materials by

pro se defendants and will inform the Court once we have finalized our approach, after

collaboration with FPD.

                                     Future Productions

       Among the documents we expect future productions to include are:

           •   The remainder of USCP CCV (4,204 files), which is mainly comprised of footage
               that has been deemed Highly Sensitive, e.g., footage of the interior of the
               Capitol; 2
           •   The remainder of MPD BWC footage (largely consisting of footage outside the
               1:00 to 6:00 p.m. timeframe), and BWC footage from Arlington County Police
               (124 files), Fairfax County Police (24 files), Montgomery County Police (60
               files), and Virginia State Police (48 files);
           •   U.S. Secret Service surveillance camera footage (143 videos);
           •   Video recordings made by officers of MPD’s Electronic Surveillance Unit;
           •   Camera map for Capitol grounds;
           •   Supplemental exhibits to USCP OPR reports;
           •   USCP After Action Reports;
           •   MPD Aerial Surveillance Unit Photos;
           •   Permits for Demonstrations at the U.S. Capitol;
           •   Additional MPD internal investigation reports;
           •   MPD and Virginia State Police radio transmissions;
           •   Legal process pertaining to the collection of geolocation data from Google, Inc.
               and various additional providers;
           •   BWC Spreadsheet and zone maps (work product created to assist in review of
               BWC footage);
           •   Statements made by members of law enforcement during interviews arising out of
               the Capitol Breach investigation;
           •   Discoverable MPD, USCP and FBI records and memoranda currently (or shortly
               to be ingested) into Relativity;
           •   Case-specific discovery of other defendants (i.e., discovery already produced to
               the defendant for whom it is directly relevant, but which will be made accessible
               to all defendants);
           •   Results of searches of devices and SCA accounts; and


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  To be clear, we are not producing via evidence.com footage that constitutes “Security
Information” pursuant to 2 U.S.C. § 1979, i.e., the 17 hours of CCV footage that relate to the
evacuation of Congressional Members. The disclosure of this footage will be handled separately.

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            •   Custodial statements of (other) defendants.

                              Substantial Completion of Discovery

       We understand that the Court would like us to project when production of voluminous

materials will be substantially complete. As an initial matter, to reach the point where we can

assess a potential date of substantial completion, the government has taken and continues to

make substantial efforts, including:

       •    Appointing a Capitol Breach Discovery Coordinator in January;
       •    Assembling a Capitol Breach Discovery Team consisting of experienced attorneys,
            project managers, and litigation technology professionals;
       •    Collecting information from multiple sources involved in the response to and
            investigation of the Capitol Breach;
       •    Collaborating with FPD to develop a standard protective order for Capitol Breach
            cases;
       •    Identifying database solutions for making terabytes of video and documents
            accessible to hundreds of defendants, funding defense databases and obtaining
            licenses for all Capitol Breach defense counsel, and collaborating with FPD to
            execute these solutions;
       •    Reviewing specific discovery requests by defense counsel to ensure the appropriate
            materials are prioritized for production;
       •    Creating protocols and procedures to ensure that (a) case-specific discovery is
            provided, (b) defendants will receive complete copies of unscoped devices and SCA
            accounts upon request; (c) devices and SCA accounts are systematically filtered for
            attorney-client communications; and (d) relevant scoped data and custodial interviews
            will be uploaded to the government’s discovery databases for production to all; and
       •    Creating proposals for increasing access to discovery by incarcerated defendants.

       We will soon begin to load into Relativity several hundred thousand FBI records (a

substantial portion of which may not be directly related to any charged defendants). These

materials that have been undergoing pre-processing to ensure, among other things, that any

materials that might be subject to protection under Federal Rule of Criminal Procedure Rule 6(e)

are segregated for processing internally. Once these documents are loaded in Relativity, we will

be able to better assess and execute our plan for reviewing them and producing them in

discovery. We are also currently engaged in a concerted effort to consolidate scoped search


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  results from thousands of devices and SCA accounts for ingestion by Deloitte. We thus expect

  to be in a better position to provide the Court an estimate of the time necessary for substantial

  completion within the next two weeks.

         As many documents may not be discoverable or may be duplicative, neither the Court nor

  defense counsel should expect the size of the productions to the defense to mimic the size of the

  government’s Relativity workspace.

                                              Conclusion

         In sum, we have made substantial progress in our diligent efforts to provide the defense

  comparable discovery review platforms for both documents and digital media, to populate those

  platforms, and to use alternative means to provide the most relevant discovery without delay.

  We will diligently continue to transfer data to our vendors, process it for production, and make

  interim productions by other means until the defense platforms are in place. As we continue to

  implement our plan, we will continue to file status memoranda with the Court on a regular basis.

                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS
                                                Acting United States Attorney
                                                DC Bar No. 415793


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